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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 JANE DOE,

          Plaintiff,
                                                     Case No. 20-cv-856-wmc
    v.

 BOARD OF REGENTS, THE
 UNIVERSITY OF WISCONSIN, and
 REBECCA BLANK, as an individual,

          Defendants.


                              JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants Board of Regents, the University of Wisconsin, and Rebecca Blank

against plaintiff Jane Doe dismissing this case.




          s/ R. Swanson, Deputy Clerk                        7/20/2022
            Joel Turner, Clerk of Court                         Date
